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        IN THE UNITED STATES DISTRICT COURT, DISTRICT OF UTAH
                          CENTRAL DIVISION
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       UNITED STATES OF AMERICA,
                                                        Case No. 2:17-CR-208-CW
                              Plaintiff,
                                                        ORDER GRANTING STIPULATED
               vs.                                      MOTION TO STAY PROCEEDINGS

       TERRY CHARLES DIEHL,                             Honorable Clark Waddoups


                              Defendant.

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       The United States and Mr. Diehl stipulated to stay these proceedings for 60 days to seek

approval from the Department of Justice for the agreement in principle that they have reached.

For reasons of judicial economy, this parties’ motion is GRANTED.       If the Department

approves the agreement in principle, this Court ORDERS Mr. Diehl to withdraw his pending

motions within 5 business days of the settlement being finalized.   If the Department rejects the

agreement in principle, then the parties are ORDERED to contact this Court within 5 business

days of learning of the disapproval to schedule further proceedings in this matter.

       DATED this 31st day of May 2018.




                                             CLARK WADDOUPS, Judge
                                             United States District Court
